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March 28th, 2020

Court Clerk, US District Court

Eastern District of California, Sacramento Division F
Room 4-200 on the 4th Floor f L E D

Robert T. Matsui United States Courthouse, . APR 0 ] 2020

up CLERK, U.S. DISTRICT COURT
501 "I" Street, Sacramento, CA 95814 EASTERN DISTRICT OF CALIFORNIA
BY

 

DEPUTY CLEAR

Subject: Fraudulent use of my name, in Company NOT registered/owned by me

CASE No: 2:20-CV-00541-JAM-AC

Dear Court Clerk,

Please ref. above case number in subject line, copy of the notice that was delivered to me is also
attached here. | do hereby declare:

i don't have anything to do with the company “360 Digital Marketing LLC (360 Digital) , Reckon Media
LLC (Reckon), GHOSTWRITER (GhostWriter), Video Animation Inc (Video), WIKI Professionals Inc
(WIKI), Trademark Terminal (TRADEMARK)" . Someone is using my name fraudulently, in this
company.

| have NEVER owned or associated with any business of this company.
Since | don't have to do anything with this company, my name should be removed from this case.

1am attaching here copy of my Driver's License also.

Best regards,

Yousuf Salman

Resident of : 22015 Bridgestone Pine CT, Spring TX, 77388

 
 

 

DRIVER LICENSE .q,

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iss 03/29/2018 a» exp 04/14/2024
pos | 41365

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68 22015 BRIDGESTONE PINE CT
. SPRING TX 77388-0000
12 Restrictions NONE = send NONE

416 Hot 5'-11" 45 Sex M 4a Eyes BRO
5 DD 20214800132259117334

 

 
